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9                                  UNITED STATES DISTRICT COURT
10                             NORTHERN DISTRICT OF CALIFORNIA
11                                    SAN FRANCISCO DIVISION
12
13   UNITED STATES OF AMERICA,                  )         No. CR 06-329 JSW
                                                )
14           Plaintiff,                         )         [PROPOSED] ORDER AND STIPULATION
                                                )          EXCLUDING TIME FROM MAY 5, 2006
15      v.                                      )         TO MAY 25, 2006 FROM THE SPEEDY
                                                )         TRIAL ACT CALCULATION
16   WILLIAM MULLIGAN, et al.                   )         (18 U.S.C. § 3161(h)(8)(A)) AS TO ALL
                                                )         DEFENDANTS
17           Defendants.                        )
                                                )
18
19      The parties appeared before the Court on May 5, 2006. The Court enters this order
20   scheduling an initial appearance before the District Court on May 25, 2006, at 2:30 p.m., before
21   the Honorable Jeffrey S. White, and documenting the exclusion of time under the Speedy Trial
22   Act, 18 U.S.C. § 3161(h)(8)(A), from May 5, 2006 to May 25, 2006. The parties agreed, and the
23   Court found and held, as follows:
24      1. The defendants agreed to an exclusion of time under the Speedy Trial Act. Failure to
25   grant the requested continuance would unreasonably deny defense counsel reasonable time
26   necessary for effective preparation, taking into account the exercise of due diligence and the need
27   for defense counsel to review the discovery that the government intends to produce this week,
28   and would deny the defendants continuity of counsel.

     STIPULATION AND ORDER
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1       2. Given these circumstances, the Court found that the ends of justice served by excluding

2    the period from May 5, 2006 to May 25, 2006, outweigh the best interest of the public and the

3    defendant in a speedy trial. Id. § 3161(h)(8)(A).

4       3. Accordingly, and with the consent of the defendant, the Court ordered that the period from

5    May 5, 2006 to May 25, 2006, be excluded from Speedy Trial Act calculations under 18 U.S.C. §

6    3161(h)(8)(A) & (B)(iv).

7       4. The Court scheduled an initial appearance before the District Court, the Hon. Jeffrey S.

8    White, on May 25, 2006 at 2:30 p.m.

9       IT IS SO STIPULATED.

10
11   DATED: 5/8/06                                                /S/
                                                         TRACIE L. BROWN
12                                                       Assistant United States Attorney

13
14   DATED:________________                                       /S/
                                                         BARRY PORTMAN
15                                                       Attorney for William Mulligan

16
     DATED: ________________                                      /S/
17                                                       DAVID ANDERSON
                                                         Attorney for Jesse James Green
18
19
     DATED: ________________                                      /S/
20                                                       STEVEN GRUEL
                                                         Attorney for Justin Jose Garcia
21
22   DATED:________________                                       /S/
                                                         GEORGE BOISSEAU
23                                                       Attorney for Jacob Hines
                                                                        S DISTRICT
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25      IT IS SO ORDERED.
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                                                                                ORDER
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26                                                                 IT IS S
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             May 24, 2006
     DATED:_____________________                         ________________________________
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                                                                      ELIZABETH          D. LAPORTE
                                                                Judg
                                                                                                    FO




                                                         United States Magistrate Judge
                                                           RT




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     STIPULATION AND ORDER                                                        R
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